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AD 245B (Rev 06/05) Sheet I . Judgmem in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES Of AtvfERICA                                      AMENDED JUDGMENT.IN A CRIMINAL CASE

                                                                CASE 'MBER: 8:07-cr-JO-T-30MSS
                                                                USMN iffiER: 49241-018
VS.




AL \fARO RElNA-ESTUPIAN
                                                                Defendant'S Attorney: Da",id Secular, pda.

TIIE DEFENDANT:

..x... pleaded guilty
                   La count(s) ONE of the Indictment.
_ pleaded nolo contendere to count(s) which was accepted by the coun.
_ \Va. found guilty on count(s) after a plea of not guilty.


TITLE & SECTTON                     NATURE OF OFFENSE                             OFFENSE ENDED                     COUNT

46 U.S.c. §. 0503(a)(1),            Conspiracy to Possess With Intent to          January 27,2007                     Ooe
70506(a), and 70506(b): and         Distribute 5 KilogTams or lore of
21 V.S.c. §960(b)(l)(B)(ii)         Cocaine While Aboard a Vessel Subject
                                    to the Jurisdiction of the United tates


       The defendant is sentenced as provided in pages 2 Lhrough 6 oflllisjudgmem. The sentence is imposed pursuant to the Seotencing
Reform Acl of 1984.

_ The defendant bas been found nO{ guilty on count(s)
..x... Coum(s) TWO of the Indictment is dismissed on the molion of the United Stales,
IT IS FURTlIER ORDERED that the defendanl must notify the United States Attorney for this districl within 30 days of any change of
name. residence, or mailing address until all fines, restitution, COSls, and special assessments imposed by this judgment are fully paid.
If ordered to pay resiitulion, me defendant must notify the court and United Slates Attomey of any material change in economic
circumstances.


                                                                                  Dare of Imposition of Sentence: August 2, 2007




                                                                                     lVLJ!.;~. MOODY         JR
                                                                                          D STATES DISTRICT J1JDGE


                                                                                  DATE: September ffi_,2008
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AO 245B (Rev 06/05) Sheet 2 - Imprisl)nment (Judgment in a Criminal Case)
Defendant            AlVARO RE      A-ESTUPlAN                                                        Judgment - Page _2_ of ....§...
Case No.:            8:07-cr-30-T-30MSS

                                                               IlVJPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title J8 U.S.c. §§
3553(a)(1)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for
a total term of EIGHTY-SEVEN (87) MONTHS as to Count One of the Indictment.




L   The court makes Lhe following recommendations to the Bureau of Prisons: The defendant shall be placed at Fcr
Coleman (FL), if possible. The defendant shall be given an eye examination giving attention to Glaucoma.




. l The defendant is remanded to the CUSTOdy of the     nired lares. Ilarshal.
    The defendant shall surrender to rhe United States! arshal for this eli mel.

            _ at _ a.m./p.m. [)n _
            _ a~ notified by the Unired Srales Marshal.

_ TIle defendant shall surrender for service of sentence at rhe institution de 'ignated by .he Bureau of Prisons.

            _ before 2 p.m. on _.
            _ as nOlified by ihe United Stares Marshal.
              as nmified by [he Probation or Pretrial Services Officc.




                                                                         RETURN

            I have executed this judgmenl as follows:




            Defendant deli ered on                                             to                                                 _
      at                                                           -', with a certified copy of this judgment.


                                                                                    United State Marshal

                                                                         By:                                                            _
                                                                                            Deputy United States Marshal
        Case 8:07-cr-00030-JSM-E_J Document 113 Filed 09/17/08 Page 3 of 6 PageID 219
                                                                                    e)

                                                                                                                   Judgment - Page _3_ of _6_

                                                                ERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supenriscd relt'llsc for a term of !'IYE (5) Y EARS as to COUDt
One of the Indictment.

         TIle defendant IUU 'l report to Ill(: probation office in the di~trict to which the defendanlls rclensed wilhin 72 hours of release from
the custody of ilie Bureau of Pris n5.

The defendant shall not c mmit another federal. state. or local crime. The defendant shall not unlawfully po e s a controlled ubstance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug te t \J,llhin 15 days
of relea e from impri onment and at lea t two periodic drug tes thereafter, as determined by the court.

~        The above drug testing condition i        uspended. ba ed on the court' determination lhat the defendant pose a low risk of future
         •ub tan (,; abu. e.

X        The defendant shall not pos e        a firearm. de tru live de'ice. or an. oth r dang rous weapon .

.K...    The defendant shall cooperate in the collection of D A as directed b the probation 001                    r

           If this judgment inlPO 'es a fine or re'titution it is a condition of upenised relea~ that th defendant pay in accordance with the
            chedule of Payment heet f!hi judgment.

          The defendant rou·t c mply \\~th the tandard conditions iliat have been adopted by thi c un a well as \\ith any additional
          conditions on [he anached page.

                                             T
 I)       the defendant shallnOl IL':Ive the judicial district w 'thOUl the pennission of lhe coun or probation otllcer:

 2)       rhe ddendanr shall rcpon 10 [he probation officer and shall ubmit a trurhful lilld complete written repon within tht: first five days of each
          month;

 3)       the defendant sh II ans\ cr tTUthfull all inquiries by the probation officer and follow d1 instructions of the probation officer:

 4)       the defendant shall upp n his or her dcpenden       and meet other tamil, rcsponsibilitic ;

 5)       the defendal1l hall work regularly at a lawful    cupation. unl - ex u cd by lhe probation officer for scho ling. trnining. r ther
          acceptable reasons:

 6)       the defendant shall nOliry the pr bat ion officer at leasr ren da) prior ro any change in residen e or cmploymcl1l;

 7)       the defendanr . hall refrain fr m eXCel ive use f alcohol and shall not purchase, po ses , u e, di IribUlC. r admini rer any contr lied
          'ub'lance or any paraphernalia relmed 10 any controlled 'ubsranc . except as prescribed by a phy ician:

 8)       rhe defcndal1l hall not frequent plac    \\ here controlled ubstanc - are iIlegali.   oll1, used di 'rri bu ted. or admini ered:

 9)       the defendanr shall not'    iate \\ ith any person. engaged in criminal acti\ity and shall nor llisociatc \\ ith lilly pc=on cOl1\ieted of a
          felon ,unl . gral1lcd permi sion 10 do ~ b} the probation officer:

 10)      rhe defenUaI1l shall permir probation officer t -..i il him or her at an. time t h me r eL ewhcn: and shall permit conti 'cali n of any
          contrllband observcd in plain view of the pr bation officer;

 II)      rhe defendant shall n ti y the probmion officer wirhin seventy-two hours fbeing arrested or questioned by a law cnflrcemenr officer,

 J 2)     rhe defendant shall not enter illlo any agrecmcl1l to acr as lill infom1er or a pecial agent of a law enlon:cll1clll agency without the
          permission of tIlt: coun; and

 13)      as direcrcd by thc prnbmion tlieer, lhe defendant hall notii}' rhird panies of risks [hat may be occasioncd by the defendant' criminal record
          or personal history or charactcri, tic and hall permit the probation otlicer I m, ko.: such m lilicarion und to confim1 the defendant's
          compliance wilh uch nOlificati n requiremcnl.
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Defendant:                                                                                          Judgment - Page _4_ of l
 ase 0.:

                                      SPECIAL CONDITIONS OF SUPERVISION

        The defendant shall al 0 comply with the following additional conditi n of supervised release:

X       Should the defendant be dep rted. he/-he -hall not b~ aUowed to re-enter the United     tat s without the expre' penni sion of
        the appropriate governmental authority.

        The defendant 'hall co perate in the ollecti n of D      as directed by the pr bauon fficer.

L         he mandatory drug te ·ring pravi ions pursuant to the iolent Crim Contr I Act ar waiv d_ However, the COLIn authorizes
        the probation officer 10 conduct random drug le~ting not to exceed 104 tests per year.
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 Defendant:                                                                                       Judgm I1l - Page..2.... of ...Q...
 Case 0.:


                                            CRIMINAL MONETARY PENALTlES

          The d fi ndant mu t pay the total criminal monetary penalties under the schecJu1e of payments on Sheet 6.

                              A sc smcnt                                                          Total Rc titution

                             $100.00                                Waived                        N/A



           The detenmnati n ofr titution is deferred until _ _                  An Amended JI/dgm III i1l a      riminGI Case          o 245C) will
           be entered after such det nnination.

           The defendant must make restitution (including community restitution) t rh              following paye       in the amount list d
           belo\ _

           If the d fendant mak a partial payment, each payee hall receive an approximat ly proportioned payment, unless
           specified otherwise in the priority order or percemage payment column b low. However. pursuant to 18 ..c.
           3664 i), all non-ft d ral victims must be paid before the United tates.



                                                 TorsI Loss~'                   Re titulion Order d                   Priority or Percentage




                                                                                -$-


           R 'titutiOD amount ordered pursuant to plea agreement S                        _

           The defendant must pay interest n a fine or restitUlion of more than 2,500, unless the r stiruti n or fine is paid in full
           before the fifteenth da after the date oftbe judgment. pursuant to 1 U. . c. § 3612(1). All of the payment options on Sheet
                                                                                                  *
           6 may be ubject t penal tie f, r delinquency and default. pursuant to 18 U. . . 3612(g).
           The court detennined that the de endant doe' nol ha e the ability to pay imerest and it is ordered that:

                   the interest requirement i' wai\-ed for the _     fine   _      restitution.

                   Lhe intere t requiremem for the _       fine _     re tirution ~ modified as follow':



* Findings for the total amount of 10 'ses are required under Chapters J09-'\. 1\ O. 1\ 0     and 113      fTitle 1 for the offen e committed
on or after eptember 1 . 1994. but before pril 23. 1996.
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                                                                                             Judgment - Page ~ of ~



                                                   SCHEDULE OF PAYMENTS



Having asses ed the defendant' ability to pay. payment of the total criminal monetary penaltie are due as follows:

A.       L         Lump um payment of             100.00 due immedialely balance due
                                 n t later than            -'. or

                                 in accordanc         c.      D.       E or _ F below; or
B.                 Paym nt to begin imm diately (may be combined with _                C _     D, or _     F below)' or
C.                 Payment in qual                    e.g., weekly, monthly. quarterly) in tallmen f           over a period
                     f        (e.g.. months or years). to commence              days .g.. 0 I' 60 da s after the date of Uri
                   judgment; or
D.                 Payment in equal               (e.g.. \ eekl ,monLbly. quanerly in taILment 01'$                        over a period of
                   .,....----,. , (e.g.. months or year) to commence                    (e.g. 30 or 60 da              ) after release from
                   imprisonm nt t a term of upervision; or
E.                 Payment during the term of sup rvised release will commence within ....._--.---                  (e.g. 30 or 60 days)
                   aft I' I' I a e 1'1' m impri onment. The court \ ill set th payment plan bascd                   es ment of the
                   defendant' ability t pa at that time. or
F.                 Special in tmcti n regarding the payment of criminal monetary penalties:




Unless the court ha xpre Iy rder d then ise, if tillS judgment impo e irnpri nm nt, paym nt or criminal monetary
penalties i due during Impri onment.    II criminal monetary penaltie , except tho pa ments made through the Federal
Bureau of Prisons' Inmate Financial Resp nsibilit Program. are made to the clerk of the un.
The defendant hall receive credit for all payments previously made tm ard any riminal monetary penaltie impos d.
         Joint and Several

        Defendant and o-De~ ndant ames and Case Numbers (in luding defendant number) Total Amount. Joint and
Several Amount and orr p nding payee. if appropriate:


         The defendanr ball pay the cost of prosecution.
         The defendant hall pay the [ollm ing court cost(s):

1L       The defendant hall for~ it the d fi ndant's interest in the following pI' perty t the            nited Stat    :
       The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all a ts and
prop~rty, or portion
                   thereof, ubj ct to forfeiture which are in the po se sian or contI' 1oCthe ddendant or the defendant's
nomInees.

Payments shall be applied in Ih following order: (I) as e ment, (2) re tilulion principal. (3) r slitulion intere l, (4) fine principal, (5)
fine interest, (6 community rc.litulion, (7) penaltie . and (8 co Is, including co lofproseculi nand C urt c sts.
